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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SUGARTOWN WORLDWIDE LLC,
TOMMY BAHAMA GROUP, INC., and                        Case No. 20-cv-02187
SOUTHERN TIDE, LLC,
                                                     Judge Sara L. Ellis
               Plaintiffs,
                                                     Magistrate Judge Sidney I. Schenkier
v.
MEMORYHOME STORE, et al.,
               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs Sugartown

Worldwide LLC, Tommy Bahama Group, Inc., and Southern Tide, LLC (collectively

“Plaintiffs”) hereby dismiss this action with prejudice as to the following Defendants:

                 Defendant Name                                        Line No.
                     Sun goods                                             63
                     kristen Lee                                           80


Dated this 31st day of July 2020.            Respectfully submitted,
                                             /s/ RiKaleigh C. Johnson
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